                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

TERRENCE FITCH,

                       Plaintiffs,

v.                                                            Case No. 23-CV-82

TONYA ROSALES and
JOSEPH LACROIX,

                  Defendants.
______________________________________________________________________________
            CERTIFICATE OF SERVICE ON NON ECF PARTICIPANT
______________________________________________________________________________

       David Brannan herein certifies that he is employed by the City of Milwaukee as a
Legal Office Assistant, assigned to duty in the office of the City Attorney, 200 East Wells
Street, 800 City Hall, Milwaukee, WI 53202; that on the 21st day of October, he
electronically filed Jeffrey Norman’s Second Amended Motion to Quash Subpoena, and
this Certificate of Service, and deposited a copy of same in the United States mail at City
Hall in the City of Milwaukee, Wisconsin in the above-entitled case, in a securely
enclosed envelope, the postage duly prepaid, addressed to:

                                         TO:    Terrence Fitch
                                                P. O. Box 81842
                                                Racine, WI 53408-1842

                                                s/ David Brannan
                                                DAVID BRANNAN

1032-2023-133:294325
